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                                          July 18, 2018

VIA ECF
United States District Court
Southern District of New York
40 Foley Square, Room 705
New York, NY 10007

Re: Bytemark, Inc. v. Xerox Corp. et al., 1:17-cv-01803-PGG


Dear Judge Gardephe:

        We represent the Plaintiff in the above referenced matter. Plaintiff writes this letter to
respectfully provide the Court with an update in connection with Defendants’ Xerox Corp, ACS
Transport Solutions, Inc., Xerox Transport Solutions Inc., Conduent Inc., and New Jersey Transit
Corp.’s petitions for Covered Business Method Review (CBM) of U.S. Pat. Nos. 8,494,967 and
9,239,993, which Defendants notified the Court of on January 26, 2018 (Dkt. Nos. 59 and 60).

       On July 12, 2018 the U.S. Patent and Trademark Office denied in their entirety
Defendants’ petitions for CBM of both U.S. Pat. Nos. 8,494,967 (CBM2018-00011, Paper 12)
and 9,239,993 (CBM2018-00018, Paper 11). There are currently no pending AIA petitions or
proceedings (CBM or IPR) relating to the validity of the ‘993 patent.

       Plaintiff asserts ten causes of action against Defendants in this case. See Dkt. No. 37.
The only pending AIA petition (inter partes review of the ‘967 patent) relates only to one of the
causes of action Plaintiff asserts (Count One). The remaining nine causes of action are not
encumbered by any pending petitions or proceedings.1

                                     Respectfully submitted,

                                     /s/ Dariush Keyhani
                                     Dariush Keyhani

cc: Defendants’ counsel of record via ECF
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 The Patent Trial and Appeal Board will hold a hearing relating to Defendant’s petition for inter
partes review of the ‘967 patent on August 22, 2018.
